The Attorney General is in receipt of your request for an opinion wherein you ask the following question: Does18 U.S.C. § 665, constitute a "crime involving moral turpitude" ? Title 18 U.S.C. § 665, provides in pertinent part as follows: "(a) Whoever being an officer, director, agent, or employee of, or connected in any capacity with, any agency receiving financial assistance under the Comprehensive Employment and Training Act of 1973 embezzles, willfully misapplies, steals, or obtains by fraud any of the monies, funds, assets, or property which are the subject of a grant or contract of assistance pursuant to this Act shall be fined not more than $10,000 or imprisoned for not more than two years, or both; but if the amount so embezzled, misapplied, stolen, or obtained by fraud does not exceed $100, he shall be fined not more than $1,000 or imprisoned not more than one year or both." (Emphasis added) State ex rel., Oklahoma Bar Association v. Jones, Okl., 566 P.2d 130
(1977), defines moral turpitude" in the following language: "Moral turpitude implies something immoral in itself, regardless of the fact whether it is punishable by law. Pippin v. State, 197 Ala. 613, 73 So. 340, 342
(1916). In the concept behind the phrase 'moral turpitude', the element of intent and knowledge are regarded as important . . ." (Emphasis added) In State ex rel. Oklahoma Bar Association v. Houts, Okl., 420 P.2d 498
(1966), the Court determined that "willfully and knowingly" filing a false and fraudulent income tax return: ". . . suggest that moral turpitude is involved . . ." Page 501.  Bancroft v. Board of Governors, Okl.,210 P.2d 666 (1949), held: ". . . as a general rule, all crimes of which fraud is an element are looked on as involving moral turpitude . . ." Page 668.  It is, therefore, the opinion of the Attorney General that your question be answered in the affirmative. Title 18 U.S.C. § 665, does delineate a crime involving moral turpitude.  (JOHN PAUL JOHNSON) (ksg)